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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 WILLIAM REYNOLDS, individually;
 as Spouse of Sywia Pawlak Reynolds;
 and as Next Frind of their minor
 children, AMR, WR, and AR,                           Case No. 25-CV-754-LMP-JFD
                     Plaintiff,

       vs.

 Nancy Sanders Harper, MD; Hennepin                    NOTICE OF APPEARANCE
 County; Fairview Health Services; The
 Board of Regents of the University Of
 Minnesota; Hennepin Healthcare
 System, Inc., d/b/a Hennepin County
 Medical Center; Otto Bremer Trust;
 The University Of Minnesota
 Physicians d/b/a U of M Physicians;
 The University of Minnesota
 Foundation d/b/a U of M Foundation;
 Britta Nicholson; Sarah Elizabeth
 Lucken, MD; Seth Cheng Silbert, MD;
 Mohamed Tahsin A. Jouhari, MD,

                     Defendants.

      PLEASE TAKE NOTICE that Christopher W. Madel of the law firm MADEL

PA, 800 Pence Building, 800 Hennepin Avenue, Minneapolis, Minnesota 55403, hereby

enters his appearance in the above-captioned matter on behalf of Defendant Fairview

Health Services.




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DATED: June 17, 2025              Respectfully Submitted,


                                  MADEL PA
                                  By: /s/ Christopher W. Madel
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                                  Todd L. Hennen (#398710)
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                                  Services




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